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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

STEPHEN T. MCPHERSON                   )
                                       )
               Plaintiff,              )
                                       )
v.                                     )             Civil Action No.
                                       )
RICHARD V. SPENCER, in his official    )
capacity as the Secretary of the Navy, )
       1200 Navy Pentagon              )
       Washington, DC 20350-1200,      )
                                       )
UNITED STATES NAVY                     )
       2000 Navy Pentagon              )
       Washington, DC 20350-2000,      )
                                       )
BOARD FOR CORRECTION OF                )
NAVAL RECORDS (BCNR)                   )
       701 S. Courthouse Road          )
       Building 12, Suite 1001         )
       Arlington, VA 22204-2490        )
                                       )
               Defendants.             )
___________________________________ )


                                          COMPLAINT

       Plaintiff, Stephen T. McPherson (“Plaintiff”), brings forth this action under the

Administrative Procedure Act, 5 U.S.C. § 701, et seq., for judicial review of a final agency

decision denying his request to remove adverse information from his Official Military Personnel

File (“OMPF”), reinstatement of his promotion to O-4, and screening by a Special Selection

Board (“SSB”). As grounds therefor, Plaintiff alleges as follows:

                                 JURISDICTION AND VENUE

       1.       The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331.

       2.       Venue is proper in the District of Columbia under 28 U.S.C. § 1391(e)(1)(A)
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because at least one defendant resides in this district.

                                             PARTIES

       3.       Plaintiff is a Navy veteran. He is a citizen of the United States and currently

resides in the city of Naples, Campania Province, in the nation of Italy. He was honorably

discharged from the United States Navy on March 31, 2016.

       4.       Defendant, Richard V. Spencer, is the SECRETARY OF THE NAVY (“the

Secretary”) and is named solely in his official capacity. Mr. Spencer is authorized by statute (10

U.S.C. § 1552) to act through a board of civilians under the procedures established by him, to

correct any military record of a former member of the Navy when he considers it necessary to

correct an error or remove an injustice.

       5.       Defendant UNITED STATES NAVY has responsibility for the administration,

control, and operation of the United States Navy (the “Navy”), a military organization whose

primary responsibility is for naval-based military operations.

       6.       Defendant BOARD FOR CORRECTION OF NAVAL RECORDS (“BCNR”) is

the highest administrative level of review of personnel actions taken by lower levels of the Navy.

The BCNR is the board of civilians established by the Secretary of the Navy, which, pursuant to

10 U.S.C. § 1552, considers applications filed before it for the purpose of determining whether

an applicant’s Navy military record should be changed to correct an error or injustice.

                                       FACTUAL ALLEGATIONS

       7.       Following the terrorist attacks on September 11, 2001, Plaintiff chose to leave a

promising career as an attorney to serve and protect his country as a Naval Aviator in the United

States Navy on December 7, 2003.


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        8.       Plaintiff’s career in the Navy included multiple deployments to the Persian Gulf,

the Horn of Africa, and South America.

        9.       Plaintiff had a son born with alobar holoprosencephaly, a severe brain defect.

Plaintiff’s son died shortly after birth in Plaintiff’s arms. Despite having to cope with the loss of

his son, Plaintiff received little support from the Navy, and was required to complete long

absences from home.

        10.      Plaintiff continued to receive high performance evaluations, several times being

ranked as the highest performing and “number one” officer amongst his peers.

        11.      In August of 2011, Plaintiff was assigned to work as a Staff Action Protocol

Officer for the Chief of Naval Forces Europe, Chief of Naval Forces Africa, Commander SIXTH

FLEET (CNE-CNA-C6F).

        12.      Plaintiff worked in an office adjacent to a Navy civilian employee, Ms. Nicole

Thomas, at CNE-CNA-C6F. Though the feelings were not reciprocated, Ms. Thomas, pursued

Plaintiff romantically. On two occasions, Ms. Thomas forced unwanted kisses on the Plaintiff.

Plaintiff stopped Ms. Thomas from any further physical contact. It was later revealed that Ms.

Thomas and her husband were swingers interested in romantically pursuing both Plaintiff and his

wife.

        13.      Subsequently, on January 20, 2012, Plaintiff was notified by the CNE-CNA-C6F

Staff Judge Advocate the he was being investigated for violating Article 133, Uniform Code of

Military Justice (“UCMJ”), 10 U.S.C. § 933, conduct unbecoming an officer and gentleman, and

Article 134, UCMJ, 10 U.S.C. § 934, general article. The investigation was initiated based on

Facebook communications provided to Plaintiff’s command leadership by Ms. Thomas’s


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husband. Specifically, Plaintiff, a married man, was being investigated to determine whether he

engaged in an unduly familiar relationship with the wife (Ms. Thomas) of a chief petty officer.

       14.     The investigation revealed that Ms. Thomas’s husband accessed her Facebook

account without authorization, in violation of 18 U.S.C. §2510 et seq., and created, edited, and/or

altered communications to give the appearance of an inappropriate relationship between the

Plaintiff and Ms. Thomas.

       15.     Ms. Thomas’s husband signed a statement requesting retraction of his actions and

the fabricated or altered materials he had submitted to Plaintiff’s command.

       16.     Under 18 U.S.C. §2511(1)(c)(d), no one may use or disclose the contents of an

electronic communication, knowing or having reason to know that the information was obtained

by a violative interception, regardless of whether the user procured the interception. Despite the

lack of evidence to support the charge that Plaintiff engaged in an unduly familiar relationship

with Ms. Thomas, Plaintiff felt coerced by leadership to accept Nonjudicial Punishment (“NJP”)

under Article 15, UCMJ, 10 U.S.C. § 815, in order to avoid potential disbarment if found guilty

of violating the UCMJ at court martial.

       17.     On February 16, 2012, Plaintiff was disciplined at NJP for violating Articles 133

and 134. The Chief of Staff, U.S. Naval Forces Europe Africa determined Plaintiff engaged in an

unduly familiar relationship with the wife of a chief petty officer. Plaintiff received a letter of

reprimand, placed in his OMPF, and forfeiture of pay ($1,000.00) per month for two months.

       18.     Plaintiff was never asked, nor did he enter a plea in the charges against him at

NJP. Additionally, Plaintiff did not receive the Report and Disposition of Offense(s)

(NAVPERS 1626/7), which notifies service members of the nature of the accusations and of his


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or her rights, until twenty (20) days after the NJP, on March 8, 2012. Plaintiff’s appeal of the

NJP to the Vice Chief of Naval Operations was returned without comment after over one year,

and the subsequent request to the Commander SIXTH FLEET was handled by the original NJP

Chief of Staff who denied the request for set aside. This officer was at the time under

investigation for accepting bribes as well as conduct unbecoming of an officer in the Navy’s Fat

Leonard bribery scandal. Forced to retire, he has been censured by the Secretary of the Navy for

conduct unbecoming, personal misconduct, poor judgment and poor leadership.

       19.     Plaintiff discovered through the Privacy Act that the fraudulent and unlawful

communications obtained in violation of 18 U.S.C. §2510 et seq. had been submitted by his

command and added to his personnel records maintained by the Bureau of Naval Personnel.

Plaintiff further discovered that Ms. Thomas subsequent contacts via email and handwritten

notes submitted as exculpatory evidence in his multiple appeals had been removed prior to

submission.

       20.     Plaintiff and his assigned defense counsel’s requests to expunge the fraudulent

and unlawfully obtained communications were denied.

       21.     On July 17, 2012, Plaintiff was notified his name was being withheld from the

FY-13 Active Duty Lieutenant Commander URL Promotion List.

       22.     Plaintiff was issued an adverse performance evaluation for the period of February

1, 2011 to March 23, 2012.

       23.     On or about March 24, 2012, Plaintiff was reassigned to Naval Support Activity

Naples, where he once again received superior performance evaluations, twice ranked as the

number one officer in his grade, and awarded a Navy Commendation Medal.


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        24.    On February 14, 2013, Plaintiff was ordered to show cause for retention, and a

Board of Inquiry elected to retain Plaintiff in the United States Naval service.

        25.    On December 16, 2013, Plaintiff was reassigned and reported to Littoral Combat

Ship Squadron One (LCSRON ONE) in San Diego, California.

        26.    In April 2014, Plaintiff’s supervisor authorized him to take his wife to the hospital

as she was going into labor with their baby. While en route to the hospital with his wife, the

LCSRON ONE Chief of Staff, Commander Jennifer Ellinger left a voicemail for Plaintiff’s

supervisor stating she is “about to rip [Plaintiff] a new asshole” due to Plaintiff not responding to

Commander Ellinger’s email to “COME SEE ME NOW!”

        27.    Immediately following the birth of his son, Plaintiff was ordered to report to

Commander Ellinger, at which point Commander Ellinger berated and cursed at Plaintiff,

making statements to the effect that Plaintiff was “an embarrassment to this command,” and she

was “looking for a fucking bottom-feeder lieutenant to fuck.”

        28.    Later in 2013, the Secretary of the Navy removed Plaintiff from the FY-13 Active

Duty Lieutenant Commander URL Promotion List, which constituted his first failure of selection

for promotion. The Secretary of the Navy memorandum removing Plaintiff’s selection for

promotion incorrectly indicated Plaintiff committed “fraternization” under Article 134 of the

UCMJ.

        29.    Subsequently, Plaintiff received his second failure of selection for promotion, and

was involuntarily discharged pursuant to 10 U.S.C. § 632 on March 31, 2016.

                       STATUTORY AND REGULATORY BACKGROUND

        30.    10 U.S.C. § 1552 mandates that the Secretary of each military department act


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“through boards of civilians,” under procedures established by the Secretary, to correct any

military record of any current or former member of that department when he or she considers it

necessary to correct an error or remove an injustice. Pursuant to this mandate, Defendant

Secretary of the Navy has established Defendant BCNR to consider and act on any requests to

make such corrections. See 32 C.F.R. § 723.2.

       31.     The relief available to current and former Navy military personnel through

application to the Board is broad and includes the correction of military records: (a) to change

the reason for discharge; (b) to reinstate a veteran to military service (which may include back

pay and allowances); (c) to void a passover of a candidate for promotion; and (d) to take other

actions as may be necessary to correct material error or injustice.

       32.     Under Navy regulations, the BCNR relies on a presumption of regularity to

support the official actions of public officers and, in the absence of substantial evidence to the

contrary, will presume that they have properly discharged their official duties. SECNAVINST

5420.193, § 3(e)(2).

       33.     Even in adverse administrative actions, no one may intentionally use or disclose

the contents of an electronic communication, knowing or having reason to know that the

information was obtained by a violative interception, regardless of whether the user procured the

interception. 18 U.S.C. § 2511.

       34.     Sexual harassment, as defined by SECNAVINST 5300.26D, is verbal or physical

conduct of a sexual nature, where the conduct has the purpose or effect of unreasonably

interfering with an individual’s work performance or creates an intimidating, hostile or offensive

working environment.


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                               PLAINTIFF’S BCNR APPLICATION

       35.    Plaintiff petitioned Defendant BCNR on August 1, 2014 requesting removal of

adverse records in his OMPF, reinstatement of promotion to O-4, and an SSB.

       36.    Plaintiff included the following in support of his BCNR application:

              •   Performance evaluations (Fitness Reports);

              •   co-worker’s statements in support of Plaintiff;

              •   Mrs. Thomas’s sworn statement(s);

              •   YNC Thomas’s retraction statement;

              •   legal briefs submitted by Plaintiff’s previous counsel regarding Defendant

                  agents’ use and consideration of information obtained in violation of 18

                  U.S.C. §2510 et seq.;

              •   evidence of Mrs. Thomas’s continued unwelcome attempts to contact Plaintiff

                  that Plaintiff rebuffed in compliance with a Military Protective Order, and

                  which Defendant’s agents disregarded;

              •   statement from Plaintiff’s supervisor and other leadership in the command in

                  support of Plaintiff;

              •   the Report and Disposition of Offense(s) (NAVPERS 1626/7) which

                  documented Plaintiff was not informed of his rights prior to NJP;

              •   letters of support from Plaintiff’s follow-on commander;

              •   a birthday card to Plaintiff from the command that had just previously

                  imposed NJP;

              •   email with subject, “COME SEE ME NOW!” from Plaintiff’s commander at

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                     his final command before being involuntarily separated;

                 •   voicemail from the above-mentioned commander stating she is “about to rip

                     [Plaintiff] a new asshole;” and

                 •   U.S. Senator Patty Murray’s letter on behalf of Plaintiff.

        37.      On September 16, 2015, a three-member panel of the Defendant BCNR denied

Plaintiff’s application for correction of his record, substantially concurring with the comments

contained in the advisory opinions from Navy Personnel Command: Performance Evaluation

(PERS-32), Post Selection Board Matters (PERS-833), and the Office of Legal Counsel (PERS-

00J). The Board concluded that Plaintiff’s statement that his relationship with Ms. Thomas was

purely platonic was false; that mitigating factors and Plaintiff’s assertion that he did not commit

misconduct were insufficient to remove the punitive letter of reprimand dated April 2, 2012; and

that the adverse performance evaluation was administratively and procedurally correct as written

and filed.

        38.      Neither the advisory opinions, nor Defendant BCNR provided any explanation for

the errors and injustices committed where the Plaintiff was not properly advised of his rights at

NJP; where the Defendant unlawfully considered fraudulent evidence obtained in violation of 18

U.S.C. §2510 et seq. at the NJP, which was incorporated in the remarks on the adverse

performance evaluation, and was also considered at the Board of Inquiry and promotion

board(s).

                                        CLAIM FOR RELIEF
                              Administrative Procedure Act, 5 U.S.C. § 706

        39.      The allegations of the preceding paragraphs are incorporated by reference as if

fully set forth herein.

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          40.    Defendant BCNR’s denial of Plaintiff’s application constitutes final agency

action.

          41.    Defendant BCNR’s decision denying Plaintiff’s application was arbitrary,

capricious, an abuse of discretion, and otherwise not in accordance with the law. The decision is

unsupported by substantial evidence.

          42.    Plaintiff has been irreparably harmed by the unlawful decision and will continue

to be irreparably harmed unless and until the Defendants’ decision is set aside.

          WHEREFORE, Plaintiff respectfully requests that the Court: (1) declare the Secretary of

the Navy’s September 16, 2015 decision to be arbitrary, capricious, an abuse of discretion, and

otherwise not in accordance with the law; (2) declare that the denial of the Plaintiff’s BCNR

application was not supported by substantial evidence; (3) direct the Defendant to reinstate

Plaintiff to military service (with any associated back pay and allowances); (4) award Plaintiff

attorneys’ fees and other litigation costs reasonably incurred in this action; and (5) grant Plaintiff

such other relief as the Court deems just and proper.


                                               Respectfully submitted,




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